Filed 8/23/24 P. v. Ortiz CA4/3




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                               DIVISION THREE


 THE PEOPLE,

       Plaintiff and Respondent,                                        G063169

           v.                                                           (Super. Ct. No. 11CF0862)

 ERIC VASQUEZ ORTIZ,                                                    OPINION

       Defendant and Appellant.



                   Appeal from a postjudgment order of the Superior Court of
Orange County, Michael J. Cassidy, Judge. Affirmed.
                   Valerie G. Wass, under appointment by the Court of Appeal, for
Defendant and Appellant.
                   No Appearance for Plaintiff and Respondent.
            We appointed counsel to represent Eric Vasquez Ortiz on appeal.
Counsel filed a brief that set forth the facts of the case. Counsel did not argue
against her client but advised the court she found no issues to argue on his
behalf.
            Counsel advised the court that the procedures set forth in People
v. Wende (1979) 25 Cal.3d 436, and Anders v. California (1967) 386 U.S. 738(Anders), do not apply to this case. (People v. Delgadillo (2022) 14 Cal.5th
216, 226, 227, 228.) Therefore, when appointed appellate counsel finds no
viable issues, counsel should file a brief informing the court that counsel
found no arguable issues and including a concise narration of facts. (Id. at
p. 231.) The reviewing court should send the brief to the defendant with
notice the defendant may file a supplemental brief or letter within 30 days,
and if the defendant does not, the court may dismiss the appeal. (Id. at
pp. 231–232.) However, no independent review of the record is compelled. (Id.
at p. 232.) If no brief or letter is filed, the court may dismiss the appeal
without issuing an opinion but should notify the defendant of the dismissal.
(Ibid.) The court retains discretion to independently review the record in any
Penal Code section 1172.6 appeal.1 (Ibid.)
            Counsel requested this court exercise its discretion to conduct an
independent review, which we have. Counsel provided information about
issues she considered to assist the court in conducting a discretionary
independent review of the record. (Anders, supra, 386 U.S. at pp. 744–745.)


1
             Effective June 30, 2022, the Legislature renumbered Penal Code
section 1170.95 to section 1172.6 without substantive change. (Stats. 2022,
ch. 58, § 10.) For purposes of clarity, we refer to the statute as section 1172.6
throughout the opinion. All further statutory references are to the Penal
Code, unless otherwise indicated.

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Counsel identified three issues: (1) Does the record of conviction establish
that Ortiz is ineligible for resentencing as a matter of law because the trial
court instructed the jury on an uncharged conspiracy to commit murder? (2)
Has Ortiz made a prima facie showing that he is entitled to relief because the
trial court instructed the jury with CALCRIM No. 520? (3) Does the petition
and record of conviction establish a prima facia case and the trial court
should have issued an order to show cause and held an evidentiary hearing?
            We gave Ortiz 30 days to file written argument on his own behalf.
If the defendant raises issues in a supplemental brief or letter, the court must
evaluate the arguments raised and issue a written opinion. (People v.
Delgadillo, supra, 14 Cal.5th at p. 232.) Ortiz filed a supplemental brief, and
we address his claims anon. We find no error and affirm the postjudgment
order.
                                     FACTS
            A complete recitation of the facts can be found in our prior
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nonpublished opinion People v. Ortiz (Aug. 27, 2019, G056093) (Ortiz).
Suffice it to say, the evidence established the following.
            Gang members Victor Lagunas and Sergio Cabezas were driving
around Santa Ana. Lagunas had a .357 revolver, and Cabezas had a nine-
millimeter semi-automatic gun. Lagunas saw Ortiz on the street and told
Cabezas to pick him up. The three went driving in rival gang territory
“looking for enemies.” Cabezas spotted gang member Benjamin Lopez.
Cabezas parked the car and the three discussed who was going to get out and



2
             On the court’s own motion and for good cause, we take judicial
notice of this court’s record in case No. G056093. (Evid. Code, §§ 452, subd.
(d), 459.)

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shoot. Cabezas was worried about his car, so he gave Ortiz his gun and
waited as the getaway driver while the other two got out.
             Ortiz and Lagunas walked to the corner and opened fire on
Lopez. Emmett Adame, who was talking with Lopez, was shot in the back
and killed. Ortiz and Lagunas ran back to the car, and Cabezas drove away.
Cabezas dropped off Ortiz.
             A.P., who was dating Ortiz at the time of the shooting, heard the
shooting. She found him about 30 minutes to an hour later. A.P. later told
police that Ortiz told her that “he was in a shooting” and “[they] got off.”
             At his third trial, the jury convicted Ortiz of second degree
murder as to count 1 and found the gang allegation true. The jurors found the
gun allegation not true. The trial court sentenced Ortiz to a term of 15 years
to life for count 1 plus a 10-year gang enhancement. We affirmed in part,
reversed in part, and remanded. (Ortiz, supra, G056093.) After Welfare and
Institutions Code 707, subdivision (a), proceedings, the matter was
transferred to criminal court. The trial court sentenced Ortiz to prison for 15
years to life.
             Later, Ortiz filed a petition for resentencing pursuant to section
1172.6. The prosecution filed a response. The court found Ortiz statutorily
ineligible for resentencing because the jury was not instructed on the felony
murder doctrine or the natural and probable consequences doctrine.
                                 DISCUSSION
             Senate Bill No. 1437 (2017–2018 Reg. Sess.) (SB 1437) (Stats.
2018, ch. 1015) amended sections 188 and 189, effective January 1, 2019, to
eliminate natural and probable consequences liability for murder, and to
limit the scope of the felony murder rule. (People v. Lewis (2021) 11 Cal.5th
952, 957, 959.) Under sections 188 and 189, as amended, murder liability can

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no longer be “imposed on a person who [was] not the actual killer,” who “did
not act with the intent to kill,” and who “was not a major participant in the
underlying felony who acted with reckless indifference to human life.” (Stats.
2018, ch. 1015, § 1, subd. (f); Lewis, supra, 11 Cal.5th at p. 959.) SB 1437 also
added section 1172.6, which, as originally enacted, set forth a procedure
whereby a “person convicted of felony murder or murder under a natural and
probable consequences theory” could petition for resentencing relief. (Stats.
2018, ch. 1015, § 4, former § 1172.6, subd. (a).) Senate Bill No. 775 (2021–
2022 Reg. Sess.), effective January 1, 2022, expanded this rule to defendants
convicted of murder under any theory in which malice is imputed to any
person based solely on that person’s participation in a crime. (§ 1172.6, subd.
(a); Stats. 2021, ch. 551, § 2; People v. Vizcarra (2022) 84 Cal.App.5th 377,
388.)
            Here, the jury instructions establish Ortiz was not convicted
under any theory of vicarious liability that is now prohibited. He could not
have been convicted under a felony murder theory or the natural and
probable consequences doctrine because the trial court did not instruct the
jury on these theories. That would normally end our inquiry. But counsel
raises two other issues.
            The trial court instructed the jury on aiding and abetting and an
uncharged conspiracy. As to aiding and abetting, the instruction required the
jury find Ortiz “intended to aid and abet the perpetrator in committing the
crime” of murder. With respect to the uncharged conspiracy, the instruction
required the jury to find Ortiz “intended to agree and did agree with others to
commit murder.” Under the theory of either direct aiding and abetting or an
uncharged conspiracy, the jury was required to find that Ortiz had the
specific intent to commit murder in order to convict him.

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            Although CALCRIM No. 520 used the words “natural and
probable consequences” in defining implied malice, implied malice and the
natural and probable consequences theory are legally distinct concepts.
“Whereas implied malice is based on ‘the “natural and probable
consequences” of a defendant’s own act,’ the natural and probable
consequences doctrine was ‘a theory of vicarious liability under which “[a]n
aider and abettor [was] guilty not only of the intended, or target, crime but
also of any other crime a principal in the target crime actually commit[ted]
(the nontarget crime).”’” (People v. Rivera (2021) 62 Cal.App.5th 217, 231–
232; People v. Carr (2023) 90 Cal.App.5th 136, 144; People v. Roldan (2020)
56 Cal.App.5th 997, 1004–1005; People v. Soto (2020) 51 Cal.App.5th 1043,
1055–1059.) Therefore, the trial court was not required to issue an order to
show cause and conduct an evidentiary hearing.
            Ortiz asks whether the fact the jury found the firearm
enhancement allegation not true makes him eligible for resentencing. It does
not. As we explain above, the record established he was convicted on a theory
of murder that remains valid notwithstanding SB 1437’s amendments to
sections 188 and 189. (People v. Verdugo (2020) 44 Cal.App.5th 320, 330,
disapproved on another ground by People v. Lewis, supra, 11 Cal.5th at
pp. 961–963.)
             Ortiz also asserts the trial court erred by failing to instruct the
jury on a lesser charge to second degree murder. Such claims are not properly
before us, as a section 1172.6 petition is not a vehicle to relitigate alleged
trial errors, and we do not consider them. (See, e.g., People v. Coley (2022)
77 Cal.App.5th 539, 549 [§ 1172.6 “is not a means by which a defendant can
relitigate issues already decided”]; People v. Farfan (2021) 71 Cal.App.5th
942, 947 [“mere filing” of § 1172.6 petition does not afford petitioner new

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opportunity to raise trial error claims or attack sufficiency of evidence to
support jury’s findings]; People v. DeHuff (2021) 63 Cal.App.5th 428, 438
[§ 1172.6 is not a direct appeal].)
            We have independently reviewed the record pursuant to People v.
Wende, supra, 25 Cal.3d 436, and Anders, supra, 386 U.S. 738, and
considered the possible issues raised by appellate counsel. We found no
arguable issues on appeal.
                                 DISPOSITION
            The postjudgment order is affirmed.



                                            O’LEARY, P. J.

WE CONCUR:



SANCHEZ, J.



DELANEY, J.




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